Case 5:20-cv-01983-MAR Document 24 Filed 10/01/21 Page 1 of 1 Page ID #:564



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  8                       UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
  9
10    IRINEA GALLARDO,                        )   Case No.: 5:20-cv-01983-MAR
                                              )
11                Plaintiff,                  )   {PROPOSED} ORDER AWARDING
                                              )   EQUAL ACCESS TO JUSTICE ACT
12          vs.                               )   ATTORNEY FEES AND EXPENSES
                                              )   PURSUANT TO 28 U.S.C. § 2412(d)
13    KILOLO KIJAKAZI,                        )   AND COSTS PURSUANT TO 28
      Acting Commissioner of Social           )   U.S.C. § 1920
14    Security,                               )
                                              )
15                Defendant                   )
                                              )
16
17          Based upon the parties’ Stipulation for the Award and Payment of Equal
18    Access to Justice Act Fees, Costs, and Expenses:
19          IT IS ORDERED that fees and expenses in the amount of $4,500.00 as
20    authorized by 28 U.S.C. § 2412, and $400.00 in costs authorized by 28 U.S.C. §
21    1920, be awarded subject to the terms of the Stipulation.
22    DATE: 
23                              ______
                                  _ ___________________
                               ___________________________________
                               THE HONORABLE
                                   HOONORABLE MARGO
                                                 MARG A. ROCCONI
24                             UNITED STATES MAGISTRATE JUDGE
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